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6

7                            UNITED STATES DISTRICT COURT
                                  DISTRICT OF OREGON
8                                  MEDFORD DIVISION
9
     In re the Matter of J.P. and E.P.:
10                                                     Civil Action No. 1:24-cv-00648-AA
     ARNAUD PARIS,
11                                                     SUPPLEMENTAL STATEMENT TO
                                 Petitioner,           MOTION FILED ON APRIL 19th
12   and                                               2024 TO POINT OUT DUPLICITY
13                                                     AND BAD FAITH OF MOTHER IN
     HEIDI MARIE BROWN,                                THE OREGON PROCEEDINGS
14
                                 Respondent.
15
16

17          P~titioner, Father, would like to provide this supplemental statement to the motion

18   filed on April 19th to point out the duplicity of Respondent, Mother, who has just been
19
     filing in bad faith a protective stalking order in Jackson County against Father to delay
20
     service of the Hague Action for Abduction that she knew had been filed against her in
21
     this Honorable Court.
22

23          After having been actively avoiding service for many weeks, as this Honorable

24   Court is aware since alternative service had to be ordered in this matter, it appears that

25   Mother had al~o filed in Jackson County a bad faith protective stalking order against

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1
     Petitioner, Father, on May 2nd also in an effort to delay service in these Hague
2

3
     Proceedings. See attached Exhibit 01, Stalking Protective Order that was given to Father

4    by a French private detective on May 17th at his local supermarket in Paris. (It is to be

5    noted that private investigators are not allowed to serve documents in France, only
6
     French bailiffs are allowed, so Mother apparently was able to convince a French PI to
7
     'cross the line' in France which does in turn constitute harassment against Father on part
8
     of Mother). See attached Exhibit 01, the Stalking Protective Order filed by Mother on
9

10   May 2nd in the Jackson County Court.

11           Father had already received a cease-and-desist email from Mother, Heidi Brown,
12   on April 24th clearly intended to try to delay Petitioner's efforts at serving her this Hague
13
     Action's petitions and summons. See attached Exhibit 02 email with notice from Miss
14
     Brown to cease-and-desist sent to Father on April 24th 2024. This Honorable Court will
15

16
     note that all the Exhibits presented as supportive evidence in the Stalking Protective

17   Order Petition from Mother are dated from before this cease-and-desist letter.

18          Father would like to point out that the the custody judgment from April 17th 2024
19
     and its finding of facts on which Miss Brown is relying for requesting this Stalking Order
20
     was obtained without due process (Father wasn't allowed to participate or to be
21
     represented by his counsel) and it was rendered by Judge Orr in total violation of the
22

23   UCCJEA in order to create a conflicting custodial determination in contradiction to the

24   French Judgments that were obtained first in France. Judge Orr showed clear proof of
25   bias and lack of impartiality during these proceedings, going as far as mocking the

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1
     French and their Judicial System in open courts and he is subject of a complaint by the
2

3
     Medford DA for judicial misconduct and lack of impartiality in his proceedings. See

4     attached Exhibit 03, email from Mr. Paris's lawyer, Tom Bittner from August 3rd

5     2023. See attached Exhibit 04, article from the Rogue Valley Times from April 27th,
6
      2024.
7
              But Father, Petitioner, still complied with this cease-and-desist letter from Mother
8
      and after April 24th he didn't take any direct part to locating Miss Brown nor to the
9

10    actions taken by the Service Company "ACP Investigation" that he had hired in Medford

11    to serve Mother, Respondent, for these Hague Proceedings. See attached Exhibit 05a,
12    Affidavit from service company in which the server is describing all the efforts made by
13
      the company to find, locate and serve Mother and none of these actions involved Father
14
      directly after April 24th, date when Mother sent her cease-and-desist letter to Father.
15

16
              Now, while Father wasn't involved in any of these service actions after he had

17    complied with the cease-and-desist letter, Mother still went ahead and filed in bad faith

18    on May 2nd this Stalking Protective Order with the clear intent to try to prevent any kind
19
      of service of the Hague Federal Action that could order the return of the children that
20
     • Mother just abducted from France in the middle of their school year. Mother was fully
21
      aware of the French Judgments valid in France when she abducted the children last
22

23    month and she knows that the Hague Convention's Article 3 is very clear:

24    "The removal or the retention of a child is to be considered wrongful where -
25
      II

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1
     a) it is in breach of rights of custody attributed to a person, an institution or any other
2

3
     body, either jointly or alone, under the law ofthe State in which the child was habitually

4    resident immediately before the removal or retention; and

5    b) at the time of removal or retention those rights were actually exercised, either jointly
6
     or alone, or would have been so exercised but for the removal or retention. "
7
            Mother removed children from France, where the children had been spending their
8
     entire school year in Paris living there with Father, their custodial parent per the "law of
9

10   that state", being France, since Father had full custody of the children in Paris per the

11   French Judgment of April 21st, 2023. And there was even a second French Judgment
12   issued on August 25th, 2023 forbiding Mother to take the children outstide of France
13
     during her visitation time. That was the "law of the state" that Mother was fully aware of
14
     when she abducted the children from France last month and this clearly constitutes a
15
     wrongful removal from the children's habitual residence. Mother is fully aware that if a
16

17   Hague Action is to take place, these two conditions to return the children to France are

18   clearly met and she wants to delay this return of the children to France at all cost.
19
            So this stalking protective order entered in bad faith shows that Mother is not only
20
     trying to delay these Hague Federal proceedings in Oregon be she is also trying to set the
21
     narrative to portray Father as some kind of dangerous character that it wouldn't be in the
22

23   interest of the children to be sent back to live with in Paris. And this explains also why

24   Mother filed for that Stalking Protective Order before entering into the unavoidable
25   Hague Federal Proceedings for the return of the children to France. Mother wants to set

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1
     the stage for this Honorable Court to believe that Father is some kind of clear and
2

3
     immediate danger not just to Mother but also to the Children.

4           This bad faith behavior on the part of Mother is consistent with the action she took

5    against Father even locally in Oregon last year when she blocked the children in Ashland
6
     for the school year through the Status Quo order and when the French Judgment of April
7
     21st, 2023 granted custody of the children to Father and Mother felt that the children
8
     would soon be able to return to France with Father. To avoid this, Mother conducted
9

10   nothing less than a slandering campaign in town to try to tarnish Father's image and his

11   reputation and to create a narrative among the community of him being some kind of
12   dangerous sexual predator to children. See attached Exhibit 05b, which is a retract-cease-
13
     and-desist letter that Father was forced to send to Mother and her friends in town who
14
     participated in the slander, to protect his honor and his reputation. Neither Mother, nor
15
     her friends retracted or apologized following that letter; but as an effort to de-escalate .
16

17   tensions in town with Mother and in preparation of the return to France with the children

18   under the French Judgment, Father didn't proceed with that slander lawsuit towards Miss
19
     Brown or her friends who participated in the slandering.
20
            Mother has a continued history of having tried to create that negative image of
21
     Father in the Oregon court, particularly when Father was denied due process and wasn't
22

23   allowed to participate in the Jackson County proceedings after the August 3rd hearing

24   during which Father was summarily sanctioned. Particularly, on the hearing of December

25   21st 2023 in the Jackson County proceedings, Mother testified that Father 'o/as enjoying

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1
     degrading women sexually to the point of raping them, and Mother testified under
2
     oath of such slanderous unfounded accusations without any possible way for Father to
3

4    make any objections on the record to such atrocious lies. See the following excerpt from

5    the hearing of December 21st 2023 in the Jackson County proceedings in which Father
6
     was not allowed to participate but only to listen without the right to make any objection
7
     nor to cross examinate, nor to bring any witnesses, evidence or testimony to counter
8
     anything that was said in these hearing:
9

10          THECOURT

11          Can you explain or if, you know, when, when he talked about, you know, hurting
12          women, in, in, in a sexual way, was this something like occurring against their will
13
            or that this other person or the other woman was a willing participant, but also for
14
            some kind ofsexual reasons.
15

16          MISSBROWN

17          My understanding is that it started out as something they were consenting for and

18          then when things got more intense, they, it was against their will at different
19
            points.
20
            THECOURT
21
            So you're concerned that something like that could happen within the, the
22
23          apartment or the dwelling while the Children are there.

24          MISSBROWN
25          Yeah. Yeah.

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1
     Such an horrific accusation made by Mother in open court during her testimony against
2

3
     Father without any basis nor proof constitutes clear slander and is it consistent with all

4    the bad faith actions that Mother has been doing in the Jackson County's proceedings,

5    starting with her very initial petition for custody in which she lied about not knowing of
6
     any competing custodial action in France.
7
            It is indeed very important to inform this Honorable Court that Mother's bad faith
8
     actions in the Jackson County court started as early as when she filed her custody action
9

10   back in October 7th 2022 and when she asked also for a Status Quo order for the children.

11   Indeed, in her initial petitions Mother didn't mention that there were already custodial
12   proceedings that she was fully aware of in France. See attached Exhibit 06, the section on
13
     page five highlighted in yellow.
14
            The truth about this lie fist came out during the previous Federal Hague Action
15

16
     proceedings in Oregon that took place in December 2022 in Eugene during which Mother's

17   counsel confirmed that she knew of the French proceedings. See attached Exhibit 07,

18   excerpt from the Oregon Hague trial from December 2022 in Eugene, on page five the
19
     section highlighted in yellow confirms that Mother knew of the French custodial action
20
     having been filed first in Paris.
21
            It is to be noted also that these bad faith and even fraudulent legal strategies from
22

23   Mother had already started in France with her fraudulent plan she had conceived with her

24   French lawyer to deceive Father and permanently block the children in Oregon. A plan that
25   had been unveiled during these same Hague proceedings when Honorable Judge McShane

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1
     accepted the evidence of Mother's fraudulent plan under the Fraud and Crime Exception.
2
3
     See attached Exhibit 08, exceipt from the Hague trial from December 2022 in Eugene, the

4    section on page five highlighted in yellow. See also attached Exhibit 09, exceipt from the

5    Hague trial from December 2022 in Eugene, the sections highlighted in yellow.
6
            These exceipts are referring to the following emails proving that Miss Brown did
7
     enter fraudulently into an agreement with Father with the clear intent to deceive him and to
8
     block the children in Oregon to commit custody forum shopping. See attached Exhibit 10.
9

10          Through this supplemental statement, Petitioner hopes that the bad faith of Mother's

11   Stalking Protective Order is even more obvious now to this Honorable Court in light of this
12   repeated behavior on the part of Mother to instrumentalize the Oregon judicial system to
13
     serve her fraudulent strategy of Custody Forum shopping and to victimize herself while
14
     creating a monstruous depiction of Father to try to justify keeping the children in Oregon at
15
16
     all cost in the coming Hague Trial.

17

18                DATED this 21st day of May, 2024, in Paris, France
19
                                                       Submitted by:
20                                                     Arnaud PARIS, Pro Per

21
                                                                  /~
22
                                                         ~17~
23
                                                       13 rue Ferdinand Duval
24                                                     75004 Paris, FRANCE
                                                       +33.6.88.28.36.41
25


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1

2                                        VERIFICATION
3
           I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
4    of America that the foregoing is true and correct.

5    SIGNED AND DATED this 21st day of May, 2024, in Paris, France.
6

7
8

9                                     • Arnaud Paris
10

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1

2                          CERTIFICATE OF SERVICE
3       I hereby certify that I served the foregoing SUPPLEMENTAL STATEMENT TO MOTION FILED ON
        APRIL 19th 2024 TO POINT OUT DUPLICITY AND BAD FAITH OF MOTHER IN THE OREGON
        PROCEEDINGS on the following party:
4
                                 Katelyn Skinner at kds@buckley-law.com
5
                                  Katrina Seipel at kas@buckley-law.com
6                                        Attorneys for Respondent

7
     By the following method or methods:

     _ _ by mailing full, true, and correct copies thereof in sealed, first class postage
8
     prepaid envelopes, addressed to the attorneys(s) as shown above, the last known office address of
     the attorney(s), and deposited with the United States Postal Service at Portland, Oregon on the date
9
     set forth below.
10   __L. by emailing full, true, and correct copies thereof to the attorneys on record for Respondent
      shown above, which is the last known email address for the respondent's attorneys on the date set
11
      forth below.
12
           by faxing full, true, and correct copies thereof to the attorney(s) at the fax number(s)
13    shown above, which is the last known fax number for the attorney{s) office, on the date set forth
      below. The receiving fax machines were operating at the time of service and the transmission was
      properly completed.
14

15   _ _ by selecting the individual(s) listed above as a service contact when preparing this electronic
     filing submission, thus causing the individual(s) to be served by means of the court's electronic filing
16   system.

17                  DATED this 21st day of May, 2024, in Paris, France.
18

19
20
     .,fi ~
     ARNAUD PARIS, Petitioner

21   ARNAUD PARIS
     13 rue Ferdinand Duval
     75004, PARIS, FRANCE
22   Telephone: +33688283641
     Email: aparis@sysmicfilms.com
23

24

25


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